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11   RON BENDER (SBN 143364)
     KRIKOR J. MESHEFEJIAN (SBN 255030)
22   LINDSEY L. SMITH (SBN 265401)                        FILED & ENTERED
33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
     2818 La Cienega Avenue
44   Los Angeles, California 90034                             JUL 20 2022
     Telephone: (310) 229-1234; Facsimile: (310) 229-1244
55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM     CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
66   Attorneys for Chapter 11 Debtors and Debtors in Possession
                                                                         BY bolte      DEPUTY CLERK



77
                               UNITED STATES BANKRUPTCY COURT
88                              CENTRAL DISTRICT OF CALIFORNIA
                                      SANTA ANA DIVISION
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     In re:                                         Lead Case No.: 8:22-bk-10948-SC
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     TRX HOLDCO, LLC, a Delaware limited            Jointly administered with:
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11   liability company,                             8:22-bk-10949-SC
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12
             Debtor and Debtor in Possession.       Chapter 11 Cases
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13   ____________________________________
     In re:                                         ORDER GRANTING DEBTORS’ MOTION
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14                                                  FOR ENTRY OF ORDER MODIFYING
     FITNESS ANYWHERE LLC, a Delaware               BIDDING  PROCEDURES    PREVIOUSLY
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15   limited liability company, dba TRX and TRX     APPROVED BY THE COURT FOR FREE AND
                                                    CLEAR SALE OF ASSETS AND GRANTING
16   Training,
16                                                  RELATED RELIEF

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17           Debtor and Debtor in Possession.       Date: July 20, 2022
     ____________________________________           Time: 10:00 a.m.
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18                                                  Place: *Via ZoomGov
19                                                         Courtroom 5C
19      Affects both Debtors                               411 West Fourth Street
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20                                                         Santa Ana, CA 92701
       Affects TRX Holdco, LLC only
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        Affects Fitness Anywhere, LLC only
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11            A hearing was held at the above-referenced date and time for the Court to consider
22   approval of the motion (the “Motion”) [Doc 158] filed by TRX Holdco, LLC and Fitness
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     Anywhere LLC, dba TRX and TRX Training (together, the “Debtors”), the debtors and debtors-
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     in-possession in the above-captioned chapter 11 bankruptcy cases1, seeking the entry of an order
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     modifying the Debtors’ bidding procedures previously approved by the Court:
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77            Appearances were made at the hearing on the Motion as set forth on the record of the

88   Court.

99            The Court, having considered the Motion, the Amendment To Debtors’ Motion For
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     Entry Of Order Modifying Bidding Procedures Previously Approved By The Court For Free
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11
     And Clear Sale Of Assets And Granting Related Relief (the “Amendment”) [Doc 179], the
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     Debtors’ proposed Amended Bidding Procedures attached as Exhibit 1 to the Amendment and
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14   all of the pleadings filed by the Debtors in support of the Motion, the statements, arguments and
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15
15   representations of counsel for the Debtors made at the hearing on the Motion, any responses or

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16   objections filed to the Motion and any replies filed by the Debtors, the statements, arguments
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17   and representations of all other parties who appeared at the hearing on the Motion, and good
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     cause appearing,
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              HEREBY ORDERS AS FOLLOWS:
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              1.     The version of the Amended Bidding Procedures filed with the Court as Doc 181
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22
22   (without exhibits) is approved and amends and supersedes in its entirety the bidding procedures

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23   previously approved by the Court.

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24            2.     July 27, 2022 at 5 p.m. (prevailing Pacific time) is the deadline (the “Initial
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25   Indication of Interest Deadline”) for all parties who wish to be eligible to participate in the
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     1
      The Court previously entered an order approving the joint administration of these chapter 11 bankruptcy
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28   cases.



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11   Auction to provide a non-binding written expression of interest in which the prospective bidder
22   identifies (1) which of the Debtors’ assets the prospective bidder is interested in acquiring; (2) a
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     preliminary expected range of purchase price within a $3 million range (which will be kept
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     completely confidential as set forth in the Amended Bidding Procedures); (3) the expected
55
     funding source, status and timing of approval of such funding source: (4) the expected business
66

77   structure of the prospective buyer and the identities of all participants in the prospective bidder;

88   (5) a specific description of remaining due diligence with outstanding questions and requests for

99   information; (6) the identity of any retained counsel and/or financial advisor; and (7) what formal
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     approvals (such as shareholder, board of director, etc.) are still needed for the prospective bidder
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     to be able to submit a binding bid and consummate a sale transaction.
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            3.      August 10, 2022 at 5 p.m. (prevailing Pacific time) is the deadline (the “Initial
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14   Bid Deadline”) by when initial bids need to be submitted by parties who wish to participate in
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15
15   the Auction. In order to participate in the Auction, all prospective bidders must do all of the

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16   following:
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17          (i)     Submit a redlined version of the template asset purchase agreement (the
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                    “Template APA”) indicating all changes that are requested to be made to the
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                    Template APA, with the Template APA to include their proposed initial bid;
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            (ii)    Submit all documents to enable Kroll, after consultation with the Debtors, the
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21
22
22                  Official Committee of Unsecured Creditors and Woodforest National Bank, to

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23                  determine whether the proposed bidder is financially qualified to participate in the

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24                  Auction; and
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25          (iii)   Submit a deposit in the amount of $2 million, which deposit would be deemed
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                    non-refundable if the bidder is deemed to be the winning bidder at the Auction
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                    and then the Debtors’ proposed free and clear sale of the Purchased Assets to the
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11                 bidder is approved by the Bankruptcy Court. Bidders will have the right to
22                 withdraw their bid at any time up until Noon (prevailing Pacific time) on August
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                   16, 2022, in which case they will receive a return of their deposit and no longer be
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                   eligible to participate in the Auction.
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            4.     The Debtors may modify the Amended Bidding Procedures at any time prior to
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77   the Auction with no further approval of this Court if both Woodforest National Bank and the

88   Official Committee of Unsecured Creditors consent to such changes to the Amended Bidding

99   Procedures.
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            5.     The procedures previously approved by the Court relating to the Debtors’
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     assumption and assignment of executory contracts and unexpired leases remain unaffected, and
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     the Debtors’ form of notice to be provided to all counterparties to executory contracts and
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14   unexpired leases previously approved by the Court is approved to be used by the Debtors in
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15   connection with the Amended Bidding Procedures.

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16          6.     The Debtors’ form of notice to be sent to all creditors, equity holders, proposed
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17   buyers and other parties in interest in the form previously approved by the Court is approved to
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     be used by the Debtors in connection with the Amended Bidding Procedures.
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            7.     The Debtors’ proposed form of Template APA previously approved by the Court
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     is approved to be used by the Debtors in connection with the Amended Bidding Procedures.
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22          8.     The Auction shall be held on August 17, 2022 at 10 a.m. (prevailing Pacific time),

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23   at the offices of Levene, Neale, Bender, Yoo & Golubchik L.L.P., located at 2818 La Cienega

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24   Avenue, Los Angeles, CA, with Qualified Bidders having the option to participate in person or
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25   via zoom, and the Auction procedures proposed by the Debtors in the Amended Bidding
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     Procedures are approved.
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11          9.      The hearing for the Court to consider approval of the Debtors’ proposed sale of
22   the Purchased Assets to the Winning Bidder at the Auction (and to approve the Winning Back-
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     Up Bidder) will be held on August 18, 2022, at 10:00 a.m. (prevailing Pacific time) (the “Sale
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     Hearing”). The Debtors shall file their proposed asset sale motion, notice of sale hearing and
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     notice of assumption and assignment of executory contracts and unexpired leases, and related
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77   pleadings (collectively, the “Sale Motion”) with the Court by no later than twenty-one days prior

88   to the Sale Hearing. Any objections to the Sale Motion must be filed with the Court by no later

99   than fourteen days prior to the Sale Hearing. Any reply pleadings to any objections filed to the
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     Sale Motion must be filed with the Court by no later than seven days prior to the Sale Hearing.
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24        Date: July 20, 2022

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